      Case 1:04-cv-10981-PBS Document 37 Filed 01/21/05 Page 1 of 5




                         UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS

                                               )
In re Neurontin Marketing and                  )
Sales Litigation                               )       MDL Docket No. 04-MDL-1629
                                               )       Case No. 1:04-cv-12625-PBS




       MOTION FOR APPOINTMENT OF TENNESSEE LEAD COUNSEL



       NOW INTO COURT comes Bauda Vauda Lee Sutton, Plaintiff in a consumer

class action in the United States District Court for the Eastern District of Tennessee

against the Defendants titled Sutton v. Pfizer, Inc., et al., E.D. TN, No. 2:04-CV-337, by

and through counsel, and respectfully moves this Court for appointment of Gordon Ball,

counsel for Ms. Sutton, as Tennessee Lead Counsel and a member of the Executive

Committee for Plaintiffs in this action. This motion is based upon the resume of Gordon

Ball (Exhibit A) and the accompanying Memorandum of Law.

       In further support thereof, Bauda Vauda Lee Sutton states as follows:

       1.      Ms. Sutton is an individual who resides in Tennessee and is a member of

the proposed class in this multi-district litigation, as well as the named plaintiff and

representative of a proposed class of similarly situated Tennessee residents in her

consumer class action filed on August 11, 2004 in the Circuit Court for Cocke County,

Tennessee (attached as Exhibit B). Ms. Sutton’s case was removed to the United States

District Court for the Eastern District of Tennessee on September 16, 2004 (Exhibit C).
      Case 1:04-cv-10981-PBS Document 37 Filed 01/21/05 Page 2 of 5




The District Court stayed Ms. Sutton’s Tennessee action on November 16, 2004 (Exhibit

D).

       2.      On October 26, 2004, the Judicial Panel on Multidistrict Litigation

transferred 23 civil actions in this matter to the Honorable Patti B. Saris of this Court for

coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. Ms.

Sutton’s Tennessee action was transferred to this MDL Court on December 7, 2004

(Exhibit E).

       3.      Counsel for Ms. Sutton, Gordon Ball, should be appointed Tennessee lead

counsel and a member of the Executive Committee for Plaintiffs to protect the interests of

Tennessee consumers. Mr. Ball is the most qualified, competent and experienced counsel

for representing Tennessee consumers and for formulating and presenting positions on

Tennessee substantive and procedural issues during the litigation. His experience and

qualifications are fully detailed in Exhibit A to this Motion. Mr. Ball is qualified to

present written and oral arguments and suggestions to the court, to work with opposing

counsel and other states’ lead counsel in developing and implementing a litigation plan,

to initiate and organize discovery requests and responses, to conduct the principal

examination of deponents, to employ experts, to arrange for support services, and to

ensure that schedules are met. Mr. Ball will fairly and equitably represent the interests of

Tennessee consumers, and will assess a reasonable charge for services.

       4.      Counsel for Ms. Sutton, Gordon Ball, fully understands that the

responsibilities of Tennessee Lead Counsel and a member of the Executive Committee

for Plaintiffs in this litigation would extend beyond the resolution of Ms. Sutton’s

involvement and include responsibilities to this Court and include an obligation to act




                                              2
      Case 1:04-cv-10981-PBS Document 37 Filed 01/21/05 Page 3 of 5




fairly, efficiently, and economically in the interests of all parties and their counsel. Mr.

Ball also understands that serving as Tennessee Lead Counsel and a member of the

Executive Committee for Plaintiffs will include an obligation to keep other attorneys

representing class members advised of the progress of the litigation and to consult them

about decisions significantly affecting their clients. Mr. Ball will not bind the group

without specific authority, nor will he, without court authorization, allow settlement

discussions to interfere with his responsibility to move the litigation to trial on schedule.

        5.      The Tennessee complaint filed by Ms. Sutton alleges that Defendants’

conduct is in violation of specific and unique Tennessee antitrust, consumer protection,

and common laws. Her complaint seeks full consideration damages, actual damages,

treble damages, and restitution individually for Tennessee indirect purchasers on a class-

wide basis.

        6.      Under Rule 23(c)(4)(A) of the Federal Rules of Civil Procedure, a class or

sub-class may be certified for only certain issues or claims in the litigation. At the

appropriate time, Ms. Sutton and her counsel will move this court to certify a class or

sub-class of Tennessee consumers in this litigation. Such a certification will enable the

Court to achieve further economies of class action treatment for the Tennessee class

members, who assert specific and unique provisions of Tennessee law.

        7.      Appointment of Ms. Sutton’s counsel, Gordon Ball, as Tennessee lead

counsel and a member of the Executive Committee for Plaintiffs in this action would

avoid unnecessary duplication of efforts, control fees and expenses, and achieve

efficiency and economy without jeopardizing fairness to Tennessee consumers and to the

other parties in the litigation.




                                              3
      Case 1:04-cv-10981-PBS Document 37 Filed 01/21/05 Page 4 of 5




Respectfully submitted, this the 7th day of January, 2005.



                                             __/s/___//Gordon Ball//_______________
                                             Gordon Ball
                                             Ball & Scott
                                             550 W. Main Avenue, Suite 750
                                             Knoxville, TN 37902

                                             Attorney for Bauda Vauda Lee Sutton




                                            4
      Case 1:04-cv-10981-PBS Document 37 Filed 01/21/05 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I, Gordon Ball, do hereby certify that a copy of the foregoing has been sent via
U.S. Mail, sufficient postage prepaid, or through the United States District Court, District
of Massachusetts CM/ECF electronic filing system, to the following:



                                 [see attached service list]


       This 7th day of January, 2005.


                                                      ___/s/_//Gordon Ball//__________
                                                      Gordon Ball




                                             5
